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      21-1365UNITED STATES COURT OF APPEALS
                 FOR THE SECOND CIRCUIT

   Selina Soule, a minor by Bianca Stanescu, her mother, Chelsea
Mitchell, a minor, by Christina Mitchell, her mother, Alanna Smith, a
minor, by Cheryl Radachowsky, her mother, Ashley Nicoletti, a minor,
                   by Jennifer Nicoletti, her mother,
                         Plaintiffs-Appellants,

                                     v.

       Connecticut Association of Schools, Inc, DBA Connecticut
Interscholastic Athletic Conference, Bloomfield Public Schools Board of
 Education, Cromwell Public Schools Board of Education, Glastonbury
  Public Schools Board of Education, Canton Public Schools Board of
        Education, Danbury Public Schools Board of Education,
                         Defendants-Appellees,

                                   and

 Andraya Yearwood, Thania Edwards on behalf of her daughter T.M.,
       and Commission on Human Rights and Opportunities,
                Intervenor Defendants-Appellees.

           On Appeal from the United States District Court
       for the District of Connecticut, No. 3:20-cv-00201 (RNC)


 BRIEF OF INTERVENOR DEFENDANTS-APPELLEES ANDRAYA
   YEARWOOD AND THANIA EDWARDS ON BEHALF OF T.M.
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                            INTRODUCTION

      Intervenor-Defendants Andraya Yearwood and Terry Miller

(“Andraya” and “Terry”) agree with Defendants that the district court’s

well-reasoned opinion should be affirmed. The district court properly

concluded that the possibility that Plaintiffs will race against other

transgender athletes in the future is speculative; that Plaintiffs have

failed to plausibly allege that retroactively changing Plaintiffs’ track and

field records will redress any injury; and that Defendants did not have

adequate notice to support a retroactive award of damages under

Pennhurst State School & Hospital v. Halderman, 451 U.S. 1 (1981).

      Terry and Andraya write separately to explain why Plaintiffs’

claims also fail on the merits. These merits arguments were fully briefed

before the district court and provide an independent basis for affirming

the district court’s order. See Sudler v. City of New York, 689 F.3d 159,

168 (2d Cir. 2012) (“We may affirm on any ground supported by the

record.”).

      Plaintiffs’ claims are based on the unprecedented theory that Title

IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq., and

its regulations force schools to discriminate against transgender

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students. Without identifying any statute, regulation, pre-existing

agency guidance document, or court precedent to support their argument,

Plaintiffs assert that Title IX establishes a federal definition of “sex” that

preempts state non-discrimination laws and prohibits schools from ever

allowing girls who are transgender to participate on school athletic teams

with other girls. To bolster their novel legal argument, Plaintiffs rely on

baseless factual assertions that they “simply can’t win” against girls who

are transgender. JA147. These assertions are contradicted by Plaintiffs’

own track and field records, which reveal that Plaintiffs repeatedly

outperformed Andraya and Terry in direct competition. Far from

enforcing the plain text of Title IX or its goals of ensuring equal athletic

opportunity for all students, the sweeping, discriminatory injunctions

requested by Plaintiffs would violate the rights of Terry, Andraya, and

other girls and young women who are transgender under both Title IX

and the Equal Protection Clause.

      Plaintiffs’ demand for reassignment on remand is equally baseless.

As part of his duty to maintain civility in legal proceedings, Judge

Chatigny instructed Plaintiffs’ counsel to stop gratuitously referring to

Andraya and Terry as “males.” JA022. In seeking reassignment,

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Plaintiffs falsely assert that Judge Chatigny ordered them “to refrain

from calling transgender athletes ‘biological males’” (Pls.’ Br. 3), when, in

fact, Judge Chatigny expressly allowed Plaintiffs’ counsel to use that

term. JA022. Plaintiffs falsely assert that Judge Chatigny prejudged the

merits of the dispute by referring to the “science” of athletic advantages

in sports (Pls.’ Br. 49), when, in fact, Judge Chatigny made clear that his

reference to “science” was about the harms of misgendering. JA022.

Plaintiffs falsely assert that Judge Chatigny’s ruling on the motion to

dismiss trivialized the importance of female athletic achievement (Pls.’

Br. 52), when, in fact, Judge Chatigny’s opinion simply noted that

Plaintiffs had failed to plausibly allege that retroactively changing

Plaintiffs’ high school athletic records would have a non-speculative

effect on their future employment. JA277-78. And Plaintiffs falsely assert

that Judge Chatigny showed favoritism by “sitting on” their motion for a

preliminary injunction to exclude Terry and Andraya from participating

in the spring 2020 track and field season (Pls.’ Br. 14), without

mentioning the critical fact that the COVID-19 pandemic forced the

Connecticut Interscholastic Athletic Conference (“CIAC”) to delay and

ultimately cancel the spring 2020 sports season entirely. JA263, 275.

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     This Court should affirm the district court’s order and deny the

request for reassignment on remand.

                     STATEMENT OF THE CASE

Andraya and Terry1

     This case involves a challenge to Connecticut’s policy of permitting

students who are transgender to participate in athletic competition

consistent with their gender identity, as reflected in the students’ daily

life and school records. When the underlying events in this case took

place, Andraya and Terry were high school students who participated in

interscholastic track and field events in accordance with Connecticut law

and CIAC policy. SA019, SA023. Both Terry and Andraya are girls who

are transgender. SA018, SA022. Like non-transgender girls and women,

Terry and Andraya have a female gender identity and live their lives as

girls. Id. At the time the complaint in this case was filed, Andraya was


1 Some of the facts in this subsection are drawn from declarations that
Andraya and Terry submitted in support of their motion to intervene. See
SA017-20 (Andraya); SA021-24 (Terry). These undisputed facts were
before the district court during the hearing on the motion to intervene,
when Judge Chatigny asked for Plaintiffs’ counsel to stop gratuitously
referring to Andraya and Terry as “males.” The factual record in support
of the motion to intervene must be considered on appeal in evaluating
Plaintiffs’ argument that Judge Chatigny’s statements created an
appearance of bias.
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an 18-year-old in her senior year at Cromwell High School. SA018. Terry

was a 17-year-old in her senior year at Bloomfield High School. SA022.

     Gender identity is a medical term for a person’s “deeply felt,

inherent sense” of belonging to a particular sex. Grimm v. Gloucester Cty.

Sch. Bd., 972 F.3d 586, 594 (4th Cir. 2020), (relying on amicus brief from

medical organizations (“AAP Amicus”)), cert. denied No. 20-1163, 2021

WL 2637992 (June 28, 2021).2 Everyone has a gender identity, and most

people have a gender identity that aligns with the sex assigned to them

at birth. See id. Transgender people, however, have a gender identity that

does not align with their birth-assigned sex. See id. Girls who are

transgender are girls who were assigned a male sex at birth. Boys who

are transgender are boys who were assigned a female sex at birth. There

is a medical consensus that gender identity has a biological component



2 In describing transgender individuals, the Fourth Circuit in Grimm
relied upon an amicus brief submitted by the American Academy of
Pediatrics, the American Psychological Association, the American
Psychiatric Association, and the Endocrine Society. See Br. of Am. Acad.
of Pediatrics et al., Grimm v. Gloucester Cty. Sch. Bd., No. 19-1952, ECF
No. 32-1 (4th. Cir. Nov. 25, 2019), https://tinyurl.com/9th8maw; see also
Neonatology Assocs., P.A. v. Comm’r, 293 F.3d 128, 132 (3d Cir. 2002)
(Alito, J.) (“Some amicus briefs collect background or factual references
that merit judicial notice.”). A similar amicus brief will be filed in this
case.
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and cannot be changed by medical intervention. See id. at 594-95; AAP

Amicus 7-8, 11-12.

     The lack of alignment between their gender identity and their sex

assigned at birth can cause transgender people to develop clinically

significant distress, known as “gender dysphoria.” See Grimm, 972 F.3d

at 594-95. Before puberty, gender dysphoria is treated by allowing

transgender children to live and express themselves in accordance with

their gender identity. See id. at 596; AAP Amicus 14. As transgender

children reach puberty, they may receive puberty-blocking medication to

avoid going through endogenous puberty, thereby avoiding the physical

changes and heightened gender dysphoria that puberty causes for many

young people who are transgender. See Grimm, 972 F.3d at 596; AAP

Amicus 15-16. Later in adolescence, transgender youth may receive

gender-affirming hormone therapy. See Grimm, 972 F.3d at 596; AAP

Amicus 14-15.

     From the time she was a child, Andraya knew she was a girl.

SA018. The summer before eighth grade, Andraya told her parents that

she is transgender and started to receive social and medical support for

her transition. Id. By the time Andraya started high school, she was

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known to her family and peers as a girl and participated in all aspects of

school consistent with her female gender. Id. She legally changed her

name to “Andraya” and has been undergoing hormone therapy for several

years. SA019. As a result of her medical transition, Andraya’s circulating

hormones are comparable to the hormone levels of non-transgender girls.

Id. In her everyday life, Andraya was accepted as a girl by her family,

her friends, her teammates, and her coaches. SA018.

     Terry also knew from a young age that she is a girl. SA022. She

recalls, as far back as fifth grade, being aware of her female gender but

not yet having the language or support to understand what she needed

in order to live authentically. Id. After years of repressing her identity,

Terry came out as transgender in tenth grade and began to live all

aspects of her life as a girl. Id. She has since updated her Connecticut

birth certificate to accurately reflect her sex as female and is undergoing

hormone therapy. SA023. Terry has circulating hormone levels typical of

non-transgender girls and, like Andraya, has been accepted as a girl by

her family, her friends, her teammates, and her coaches. SA023.

     Andraya and Terry love to run. They both participated in indoor

and outdoor track and field on their schools’ respective girls’ teams, in

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accordance with a CIAC policy that allows students who are transgender

to play on sex-separated sports teams consistent with their gender

identity if they meet certain criteria. SA019, SA023; JA149 (citing CIAC

By-Laws art. IX, § B). Neither Andraya nor Terry “abruptly” began

competing in girls’ track. Contra JA153. Rather, both girls spent long

periods of their lives coming to terms with their gender, coming out to

their friends and family, and then living consistently with their gender

at school and in the community. See generally SA018-19; SA022-23. Only

then did they begin to compete on girls’ teams, consistent with the

recommendation of medical providers and the CIAC policy.

     Under the CIAC policy, which has been in place since 2013, each

school district “shall determine a student’s eligibility to participate in a

CIAC gender specific sports team based on the gender identification of

that student in current school records and daily life activities in the

school and community at the time that sports eligibility is determined for

a particular season.” CIAC By-Laws art. IX, § B.3 By submitting a team

roster to the CIAC, each school district verifies that the students listed



3     The    CIAC       By-Laws      are        available       online   at
http://www.casciac.org/ciachandbook.
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“are entitled to participate on that team due to their gender identity and

that the school district has determined that the expression of the

student’s gender identity is bona fide and not for the purpose of gaining

an unfair advantage in competitive athletics.” Id.4

     The CIAC policy is not an outlier. High school athletic associations

across the country have policies that—like the CIAC’s—allow boys and

girls who are transgender to play on the same teams as other boys and

girls. Laws and policies in approximately fourteen states and the District

of Columbia allow transgender students to participate in athletics

consistent with their gender identity without requiring students to

establish any proof of medical transition. See Transathlete.com: K-12

Policies, https://www.transathlete.com/k-12 (collecting citations). An

additional twenty states allow transgender students to participate in

sports consistent with their gender identity on a case-by-case basis or

with some proof of medical transition other than surgery. See id.



4 The CIAC policy does not, as Plaintiffs allege, allow students to play on
girls’ teams based on whether “they claim” to have a female gender
identity. JA131. Rather, as quoted above, it dictates student
participation based on “the gender identification of that student in
current school records and daily life activities in the school and
community.”
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(collecting citations).5 The National College Athletic Association

(“NCAA”) and the International Olympic Committee also allow women

who are transgender to compete on women’s teams after a period of

hormone therapy. See NCAA Office of Inclusion, NCAA Inclusion of

Transgender      Student-Athletes        (2011),      tinyurl.com/cr6ykbax;

International Olympic Committee, IOC Consensus Meeting on Sex

Reassignment            and            Hyperandrogenism                 (2015),

https://tinyurl.com/kcfhc8cc.

     Andraya and Terry participated on their schools’ track teams for

the same reasons as their non-transgender peers in Connecticut and

beyond. They participated because they love to run; because being a part

of a team provides a supportive community and creates lasting social and

emotional relationships; because training and competition allowed them

to improve their athletic skills, challenge themselves, and release stress


5  In 2020 and 2021, eight states passed laws attempting to ban
transgender women and girls from women’s athletics. See id. (collecting
citations); Sam Levin, Mapping the anti-trans laws sweeping America: ‘A
war on 100 fronts,’ The Guardian (June 14, 2021). Federal courts have
issued preliminary injunctions against two of those laws under either the
Equal Protection Clause or Title IX. B.P.J. v. W. Va. State Bd. of Educ.,
No. 2:21-CV-00316, 2021 WL 3081883 (S.D.W. Va. July 21, 2021); Hecox
v. Little, 479 F. Supp. 3d 930, 975 (D. Idaho 2020), appeal filed Nos. 21-
35813, 21-35815 (9th Cir. Sept. 7, 2020).
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and anxiety; and because the experience gave them a place to be

themselves and thrive. SA019, SA023. Like their teammates and other

athletes, they valued participation and the opportunity to achieve.

SA020, SA024. During track seasons, they each trained multiple hours

per day, five days per week, and pushed themselves and their teammates

to improve. SA019, SA023. “This is what keeps me going.,” Andraya

explained in 2019. “Every day I train hard—I work hard to succeed on

the track, to support my teammates, and to make my community proud.”

Dan Brechlin, Connecticut high school transgender athletes ‘no longer

want to remain silent’ following Title IX complaint, Hartford Courant

(June 20, 2019), https://tinyurl.com/j6sns4vk.

Plaintiffs’ Allegations

     Plaintiffs are four non-transgender girls—Selina Soule, Chelsea

Mitchell, Alanna Smith, and Ashley Nicoletti—who allege that Andraya

and Terry’s participation in girls’ track and field events deprived

Plaintiffs of equal athletic opportunities. JA173-75.6 All four plaintiffs


6 Soule currently attends Florida Atlantic University and has filed a
motion to intervene as a defendant in a lawsuit challenging a new Florida
law prohibiting girls who are transgender from participating on girls’
sports teams. See Mot. to Intervene, D.N. v. DeSantis, No. 21-cv-61344-
RKA (S.D. Fla. Sept. 21, 2021), ECF No. 46.
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assert in conclusory terms that, as a result of the participation of girls

who are transgender in girls’ high school athletic events, Plaintiffs “are

losing competitive opportunities, the experience of fair competition, and

the opportunities for victory and the satisfaction, public recognition, and

scholarship opportunities that can come from victory.” JA148.

     But Plaintiffs fail to back up their rhetoric with an accurate

recounting of the facts. Although the court must accept all well-pleaded

facts as true, “it is well established that [courts] need not ‘credit a

complaint’s conclusory statements without reference to its factual

context,’” including documents incorporated into the complaint by

reference. Amidax Trading Grp. v. S.W.I.F.T. SCRL, 671 F.3d 140, 146-

47 (2d Cir. 2011) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 686 (2009)).

Nearly all of Plaintiffs’ assertions are based on publicly available records

from the Athletic.net website. See JA150-51 (“All names, times, and other

information provided in this section are taken from public sources,

including   Connecticut    high   school    track   records    available   on

AthleticNET, at the web addresses indicated.”). The complete set of

records from Athletic.net paints a different picture from the selected

excerpts highlighted in the Second Amended Complaint.

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     First, and most significantly, the Second Amended Complaint is

filled with conclusory assertions that the Plaintiffs and other non-

transgender girls “can’t win” when competing against Andraya and

Terry. JA147-48, JA163. But the complete set of track and field records

for CIAC events reflects that Alanna Smith and Chelsea Mitchell

outperformed both Terry and Andraya on multiple occasions:

     (a) In the 2019 outdoor season, Mitchell outperformed Andraya in
         the 100m state open championship. Compare SA068 (showing
         first-place performance for Mitchell) with SA028 (showing
         fourth-place finish for Andraya). Mitchell also outperformed
         Andraya in the 2019 indoor Class S championship in the 55m
         dash. Compare SA070 with SA030 (showing Mitchell in second
         and Andraya in third).

     (b) In the 2019 outdoor season, Smith also outperformed both
         Andraya and Terry in the 100m state open championship.
         Compare SA083 (showing third-place finish for Smith) with
         SA028 (showing fourth-place finish for Andraya) and SA041
         (showing false start for Terry).

     (c) In the 2020 indoor season, Mitchell won first place in the 55m
         dash Class S championship, first place in the 55m dash state
         open championship, and first place in the 300m Class S
         championship, outperforming Terry each time. Compare SA065
         (showing Mitchell’s results) with SA039 (showing Terry’s
         results).7


7See also Shawn McFarland, For the second week in a row, Canton’s
Chelsea Mitchell beats Terry Miller in 55-meter dash, this time to win
State     Open     title, Hartford    Courant    (Feb.    22,   2020),
https://tinyurl.com/yz3am9jc.
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All of these victories occurred before the Second Amended Complaint was

filed on August 11, 2020. See JA130 (showing date filed).8

     Second, and in similar fashion, the Second Amended Complaint

asserts in conclusory terms that Plaintiffs have been denied the “chance

to be champions” and “the satisfaction, public recognition, and

scholarship opportunities that can come from victory.” JA131, 148. But

Plaintiffs have an extensive record of victories, both when competing

against Andraya and Terry and when competing in other events. Soule

won gold trophies in the 4x200 relay in the state open and Class LL

championships in both the 2019 and 2020 indoor seasons, along with the

2020 Class LL championship in the indoor 55m, for a total of five state




8 Smith recently competed in the 2021 outdoor season in both the 100m
and the 200m, where she recorded faster times than Andraya ran at any
point in Andraya’s high school career. Compare Published Results of
Alanna Smith’s track and field events (unattached), Athletic.net,
https://www.athletic.net/TrackAndField/Athlete.aspx?AID=14790311&L
=1 (showing Smith achieving times of 11.83 in the outdoor 100m and
24.00 in the outdoor 200m) (last visited October 6, 2021) with SA026
(showing Andraya’s fastest times as 12.17 in the outdoor 100m, and
25.33 in the outdoor 200m). Smith’s 200m time of 24.00 also exceeds
Terry’s fastest-ever 200m time. See SA039 (reflecting Terry’s best
outdoor 200m time as 24.17 in 2017).
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titles. SA050, SA051, SA055.9 Smith won gold trophies in the 2019 400m

state open championship and the 400m New England Championship.

SA085. And Mitchell won at least twelve gold trophies, including:

         Eight Class S championships in the 2018 outdoor 100m
          (SA073), 2018 outdoor 200m (SA073), 2018 outdoor 4x100
          relay (SA075), 2019 outdoor long jump (SA069), 2020 indoor
          55m (SA065), 2020 indoor 300m (SA066), and 2019 and 2020
          indoor long jump (SA066, SA071);

         Three CIAC state open championships in the 2019 outdoor
          100m (SA068), 2019 indoor long jump (SA071), and 2020
          indoor 55m (SA065); and

         A New England championship in the 2019 outdoor 100m
          (SA068).

As of the 2020 indoor season, Mitchell was ranked first among all girls in

Connecticut for the 200m and second among all girls nationally in the

long jump. See SA065; see also Gerry deSimas, Jr., Canton’s Chelsea

Mitchell signs letter of intent to run at William and Mary, Collinsville

Press (Nov. 16, 2019), https://tinyurl.com/xj9dk7xs (summarizing

Mitchell’s achievements).




9See also Soule Decl. in Support of Intervention ¶ 15, D.N. v. DeSantis,
No. 21-cv-61344-RKA, ECF 46-1 (S.D. Fla. Sept. 21, 2021) (describing
herself as “a five-time state title holder”).
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     Third, despite their sweeping assertions about lost athletic

opportunities, three of the plaintiffs—Soule, Nicoletti, and Smith—allege

only a single instance in which Andraya and Terry’s participation

affected their athletic opportunities in any way. See JA277. Soule alleged

she would have finished in sixth place instead of eighth place in the

preliminary 55m race for the 2019 indoor state open championship and

advanced to the finals. See id. Nicoletti alleged she would have finished

in seventh place instead of ninth place in the 100m preliminary race for

the 2019 outdoor Class S championship and advanced to the finals. See

id. And Smith alleged she would have finished second instead of third in

the 200m at the 2019 outdoor state open championship. See id.

     The only student who alleges she was actually denied a

championship as a result of Andraya and Terry’s participation is Chelsea

Mitchell. See id. She alleges that without Andraya and Terry’s

participation, Mitchell would have won an additional four gold trophies

on top of her other twelve. Id.

     Fourth, although Plaintiffs make generalized assertions about lost

scholarship or recruitment opportunities (JA130-31, JA174-75), they fail

to support those generalizations with any specific factual allegations.

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Smith, Soule, and Nicoletti provide no support for the conclusory

assertion that they lost scholarship or recruitment opportunities based

on the single race in which they claim to have been affected by Andraya

or Terry’s participation. The relevant race for Smith and Nicoletti each

occurred when they were in only ninth grade. JA277. Meanwhile, Soule

received an offer to run for Florida Atlantic University. See Soule Decl.

in Support of Intervention ¶ 29, D.N. v. DeSantis, No. 21-cv-61344-RKA,

(S.D. Fla. Sept. 21, 2021), ECF 46-1. And Mitchell received an athletic

scholarship to attend William & Mary. See Ashley Schwartz-Lavares et

al., Trans women targeted in sports bans, but are they really at an

advantage? ABC News (Apr. 7, 2021), https://tinyurl.com/y7j98xbj.10

     Plaintiffs also fail to allege that any scholarships or recruitment

opportunities actually went to Andraya or Terry. (In fact, Andraya and

Terry received no scholarship opportunities to compete in college. Id.)

     Moreover, although Plaintiffs spend a substantial portion of their

opening brief arguing that amending their records could have an effect



10Mitchell’s collegiate track records are also public. See Published Results
of Chelsea Mitchell’s collegiate track and field events, Athletic.net,
https://www.athletic.net/TrackAndField/Athlete.aspx?AID=17575027
(last visited October 6, 2021).
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on future employment opportunities (Pls.’ Br. 2, 20-26, 52-54), the Second

Amended Complaint does not contain any allegations whatsoever about

athletic records’ connection to employment opportunities—whether for

these Plaintiffs or for anyone else.

Plaintiffs’ Lawsuit

     On February 12, 2020, Plaintiffs filed a Complaint against the

CIAC and the five school boards representing the jurisdictions where

Plaintiffs, Andraya, and Terry each attended school. JA009, JA010.

Plaintiffs filed an Amended Complaint on April 17, 2020, and a Second

Amended Complaint on August 11, 2020. JA017, JA024.11 For ease of

reference, Intervenor-Defendants cite here to the Second Amended

Complaint when referring to “the Complaint.”

     Plaintiffs’ Complaint is based on the premise that, by allowing

Andraya and Terry to participate on the same teams as other girls, the

CIAC policy allows “males” to participate in women’s sports, and that

such participation violates the rights of cisgender girls under Title IX.

According to the Complaint, males have an athletic advantage over



 The original complaint was filed on behalf of only Soule, Mitchell, and
11

Smith. The Amended Compliant added Nicoletti as a fourth plaintiff.
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females because of “inherent and biologically dictated differences

between the sexes.” JA140. The Complaint alleges that “[w]hile boys and

girls have comparable athletic capabilities before boys hit puberty, male

puberty quickly increases the levels of circulating testosterone . . . and

this natural flood of testosterone drives a wide range of physiological

changes that give males a powerful physiological athletic advantage over

females.” Id. Referring to the fact that many girls and women who are

transgender receive gender-affirming hormone therapy, the Complaint

further alleges that “[a]dministering testosterone-suppressing drugs to

males [sic] by no means eliminates their performance advantage.” JA146.

Andraya and Terry dispute these allegations, but acknowledge they must

be accepted as true for purposes of a motion to dismiss.

     Plaintiffs allege that the CIAC policy violates Title IX by failing to

effectively accommodate the athletic abilities of non-transgender girls,

see JA172-74, and by failing to provide equal treatment, benefits, and

opportunities for non-transgender girls’ athletics, see JA174-75. For these

alleged violations, Plaintiffs seek nominal and compensatory damages.

JA176. Plaintiffs also seek prospective relief in the form of a declaratory

judgment and three injunctions:

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            “An injunction prohibiting all Defendants . . . from permitting
             males [sic] from participating in events that are designated
             for girls, women, or females.”12

            “An injunction requiring all Defendants to . . . remove male
             [sic] athletes from any record or recognition purporting to
             record times, victories, or qualifications for elite competitions
             designated for girls or women, and conversely to correctly
             give credit and/or titles to female athletes who would have
             received such credit and/or titles but for the participation of
             athletes born male and with male bodies in such
             competitions.”

            “An injunction requiring all Defendants to correct any and all
             records, public or non-public, to remove times achieved by
             athletes born male and with male bodies from any records
             purporting to record times achieved by girls or women.”

JA176.

        Despite the centrality of testosterone and puberty to their factual

allegations, the relief sought by Plaintiffs does not focus on hormones and

puberty. Instead, Plaintiffs seek sweeping relief preventing all girls who

are transgender—whom Plaintiffs refer to as “athletes born male with

male bodies”—regardless of the age at which they transitioned, whether

they have had puberty blockers or hormone therapy, and whether they

actually went through endogenous “male” puberty. Id.




12   This injunction was sought only by Smith and Nicoletti. JA177.
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Plaintiffs’ Request for a Preliminary Injunction

      Together with the Complaint, Plaintiffs moved for a preliminary

injunction to prohibit Andraya and Terry from participating in the spring

2020 outdoor season, which would have been the last season in which

Soule, Mitchell, Andraya, or Terry competed before graduating. JA260-

62.

      Nine days after the Complaint was filed—and before the Complaint

and motion for preliminary injunction had even been served on

Defendants, JA011—Andraya and Terry filed a motion to intervene as

defendants. JA012. The Connecticut Commission on Human Rights and

Opportunities filed a motion to intervene as well. Id.

      On March 10, Governor Lamont issued a public health emergency

declaration in light of the COVID-19 pandemic. See Executive Order No.

7C, https://tinyurl.com/dw6mpkb. On March 12, he canceled sporting

events, and on March 15, he closed schools. See id. Because a cancelation

of the spring 2020 outdoor season would moot Plaintiffs’ claims of

irreparable injury, the district court deferred the motion for preliminary

injunction until it became clear whether the season would be canceled.

See JA014 (ECF No. 68); JA015 (ECF No. 79); JA016 (ECF 82).

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The Court Orders Counsel to Refer to Andraya and Terry with Civility

     On April 16, 2020, the court held a telephonic hearing on the

pending motions to intervene. JA017. In their motion, Andraya and Terry

took issue with the Complaint’s reference to them as “males.” See, e.g.,

SA007. They explained that they are girls who are transgender,

discussed medical treatments they have received for gender dysphoria,

and identified ways in which they have been socially and legally

recognized as girls in Connecticut. SA002-04. They also explained that

the Plaintiffs’ references to “biological sex” are inaccurate and imprecise

because there are many biological components of sex, including

chromosomal, anatomical, hormonal, and reproductive elements. SA007.

     During the hearing, Plaintiffs’ counsel nevertheless referred to

Andraya and Terry as “male competitor[s]” and “male athletes.” JA100,

JA103. The Court then stated:

     I don’t think we should be referring to the proposed
     intervenors as “male athletes.” I understand that you prefer
     to use those words, but they’re very provocative, and I think
     needlessly so. I don’t think that you surrender any legitimate
     interest or position if you refer to them as transgender
     females. That is what the case is about. This isn’t a case
     involving males who have decided that they want to run in
     girls’ events. This is a case about girls who say that
     transgender girls should not be allowed to run in girls’ events.

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      So going forward, we will not refer to the proposed intervenors
      as “males”; understood?

JA104.

      Plaintiffs’ counsel objected to the request. Counsel stated that

“[g]ender identity is not the point of this case” and “[t]he point of this case

is physiology of bodies driven by chromosomes and the documented

athletic advantage that comes from a male body, male hormones, and

male puberty in particular.” JA105-06.

      The court responded:

      I’m not asking you to refer to these individuals as “females.” I
      know that you don’t want to do so. What I’m saying is you
      must refer to them as “transgender females” rather than as
      “males.” Again, that’s the more accurate terminology, and I
      think that it fully protects your client’s legitimate interests.
      Referring to these individuals as “transgender females” is
      consistent with science, common practice and perhaps human
      decency.

      To refer to them as “males,” period, is not accurate, certainly
      not as accurate, and I think it’s needlessly provocative; and,
      for me, civility is a very important value, especially in
      litigation.

      So if you feel strongly that you and your clients have a right
      to refer to these individuals as “males” and that you therefore
      do not want to comply with my order, then that’s unfortunate.
      . . . I don’t want to bully you, but at the same time, I don’t
      want you to be bullying anybody else. . . . My goals for this

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     case include, very importantly, the goal of maintaining civil
     discourse, respectful, humane, intelligent, civil discourse in
     the course of the case. Nothing more, nothing less.

JA107-08.

     In response to a follow-up question from Plaintiffs’ counsel, the

Court further clarified that it was not ordering Plaintiffs’ counsel to use

the specific phrase “transgender female” and that counsel could refer to

girls who are transgender as people who “have male bodies” or “went

through male puberty.” JA108.

     On May 8, 2020, Plaintiffs filed a motion for the district court to

recuse himself, arguing that his request for courtesy created an

appearance of partiality. JA020. The court denied the motion in a minute

order entered on June 16, 2020. JA022. The court reiterated that

“plaintiffs’ counsel would still be able to refer to them as ‘biologically

male’ with ‘male bodies.’ They just couldn’t refer to them as ‘males,

period.’” Id. The court further explained:

     I do not agree that the public might reasonably construe my
     reference to “science” as a comment on the merits of the issue
     whether transgender athletes have an unfair competitive
     advantage in girls’ sports. . . . That statement does not reflect
     a preconceived conclusion on the issue of unfair competitive
     advantage presented by this case. In fact, and as I think
     objective members of the public would readily understand, the

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     “science” I referred to is not the science relating to the issue
     of unfair competitive advantage but the science that tells us
     calling transgender girls “males” can cause significant mental
     and emotional distress. The insight provided by this science
     has led to a “common practice” of referring to transgender
     persons by their gender identity, which is viewed by many as
     a matter of “human decency.” . . .

     By referring to science in this way, in this context, and for this
     purpose, I did not state or imply anything about whether the
     transgender youth in this case do or do not enjoy an unfair
     competitive advantage when they compete in girls’ track. . . .
     The issue of unfair competitive advantage can be fully and
     fairly litigated consistent with professional ethics and
     constitutional protections without referring to the
     transgender females involved in this case as “males, period.”
     I think objective members of the public would agree. I also
     think objective members of the public would understand that
     just because I want plaintiffs’ counsel to avoid needlessly
     calling the transgender females in this case ‘males, period”
     does not mean I am partial or biased with regard to any issue
     in the case.

JA022-23 (paragraph breaks added). Plaintiffs then filed a petition for

writ of mandamus with this Court, and, at the parties’ request, the

district court stayed proceedings until the petition was denied on

November 4, 2020. JA024-26.13




13 Plaintiffs misleadingly state that this Court denied the petition
“[b]ecause mandamus is a ‘drastic and extraordinary’ interlocutory
remedy.” Pls.’ Br. 11 n.3 (citation omitted). This Court did not provide
any reasoning for its decision.
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The Motion to Dismiss

     Defendants and Intervenor-Defendants filed a consolidated motion

on August 21, 2020, to dismiss the Second Amended Complaint for lack

of standing and for failure to state a claim upon which relief could be

granted, pursuant to Federal Rules of Civil Procedure 12(b)(1) and

12(b)(6). See JA025.

     The district court granted the motion to dismiss on April 25, 2021.

JA028. It held that Plaintiffs’ request to enjoin the CIAC policy had

become moot because Andraya and Terry graduated from high school in

2020, and the plaintiffs still attending high school had failed to

demonstrate a non-speculative possibility that they would compete

against other girls who are transgender in the future. JA271-72. The

district court further held that Plaintiffs lacked standing to seek an

injunction to retroactively change their records because Plaintiffs failed

to plead any facts supporting their conclusory assertions that doing so

could have a plausible effect on their future athletic recruitment or

employment opportunities. JA278. Finally, the district court held that

Plaintiffs’ requests for damages were barred by Pennhurst State Sch. &

Hosp. v. Halderman, 451 U.S. 1 (1981). JA279-87.

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     The court did not address Defendants’ alternative arguments—that

Plaintiffs had failed to allege a cognizable violation of Title IX, or that

Plaintiffs’ requested remedies would violate the rights of transgender

students. JA260. But the court noted that its decision was bolstered by

the fact that “[c]ourts across the country have consistently held that Title

IX requires schools to treat transgender students consistent with their

gender identity.” JA286.

                      SUMMARY OF ARGUMENT

     This Court may affirm the district court’s order on any ground

supported by the record. Although the district court properly dismissed

Plaintiffs’ claims on jurisprudential grounds, Plaintiffs’ unprecedented

argument that Title IX requires schools to discriminate against

transgender students also fails on the merits.

     Without making any attempt to ground their arguments in the

actual text of Title IX and its regulations, Plaintiffs argue that Title IX’s

athletic regulations define girls who are transgender as “males,” and that

a school’s failure to exclude transgender girls from the girls’ team

constitutes a failure to provide cisgender girls with a sex-separated team,



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which they say automatically violates Title IX. Plaintiffs are wrong on

both counts.

     Nothing in the text of Title IX or in the athletic regulation purports

to define girls who are transgender as “males,” or requires the CIAC to

subject girls who are transgender to different and discriminatory

treatment. And even if Plaintiffs could somehow establish that a girls’

team with girls who are transgender is not “sex-separated,” Title IX does

not mandate sex separation as the exclusive means of providing equal

athletic opportunity. Rather, under Title IX regulations and guidance,

Plaintiffs could not state a claim for denial of effective accommodation

unless they could show that they do not possess sufficient skill “to

compete actively” alongside girls who are transgender. Title IX of the

Education Amendments of 1972: A Policy Interpretation, at § VII.C.4.b(3),

44 Fed. Reg. 71,413 (Dec. 11, 1979) (“1979 Policy Interpretation”),

https://www2.ed.gov/about/offices/list/ocr/docs/t9interp.html.      Plaintiffs

do not even attempt to make that showing. To the contrary, Plaintiffs’

own records establish that they have actively competed against—and

even outperformed—Andraya and Terry on multiple occasions, building

an impressive record of victories.

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     Plaintiffs have also failed to state viable Title IX claims because the

injunctions Plaintiffs seek would violate the legally protected rights of

Andraya, Terry, and other girls who are transgender. Plaintiffs demand

sweeping injunctions prohibiting all girls who are transgender from

competing—regardless of whether they have gone through endogenous

“male puberty,” whether they have received gender-affirming hormone

therapy, and whether they possess any of the alleged athletic advantages

that Plaintiffs attribute to “male bodies.” Two federal courts have already

held that state laws with similarly sweeping bans likely violated the

rights of transgender students under either the Equal Protection Clause

or Title IX, and issued preliminary injunctions prohibiting their

enforcement. See B.P.J. v. W. Va. State Bd. of Educ., No. 2:21-CV-00316,

2021 WL 3081883 (S.D.W. Va. July 21, 2021); Hecox v. Little, 479 F. Supp.

3d 930, 975 (D. Idaho 2020), appeal filed sub nom. Hecox v. Kenyon, Nos.

21-35813, 21-35815 (9th Cir. 2020).

     Finally, Plaintiffs’ request for reassignment on remand should be

rejected. Judge Chatigny acted well within his discretion in admonishing

counsel to stop gratuitously referring to two teenage girls who are

transgender as “males, period.” When Plaintiffs’ counsel engaged in

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similar conduct a few months later in Hecox v. Little, that district court

issued the same admonishment, explaining that counsel had numerous

other ways to “make[] counsel’s point without doing so in an

inflammatory and potentially harmful manner.” 479 F. Supp. 3d at 957

n.11. Courts routinely respect the gender identity of litigants by referring

to them with appropriate pronouns and honorifics, and have required

counsel to do the same as a matter of common courtesy. Plaintiffs’

remaining      arguments     for   reassignment     rest   on   either     blatant

misrepresentations of what Judge Chatigny said or misleading omissions

of critical facts. No reasonable person provided with an accurate

representation of the facts would question the impartiality of the district

court.

                             LEGAL STANDARD

         “On appeal following a dismissal of a complaint for either lack of

subject-matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1)

or failure to state a claim under Rule 12(b)(6), [this Court] review[s] the

district court’s decision de novo.” Fund Liquidation Holdings LLC v.

Bank of Am. Corp., 991 F.3d 370, 379 (2d Cir. 2021). In conducting de

novo review, this Court “may affirm the district court’s order granting

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summary judgment on any ground supported by the record, even if it is

not one on which the district court relied.” Gary Friedrich Enters., LLC

v. Marvel Characters, Inc., 716 F.3d 302, 316 (2d Cir. 2013) (internal

quotation marks omitted).

     On a motion to dismiss, the court “must consider the complaint in

its entirety, as well as . . . documents incorporated into the complaint by

reference, and matters of which a court may take judicial notice.” Bellin

v. Zucker, 6 F.4th 463, 473 (2d Cir. 2021) (internal quotation marks and

citations omitted). Although the court must accept all well-pleaded facts

as true, “it is well established that [courts] need not ‘credit a complaint’s

conclusory statements without reference to its factual context.’” Amidax

Trading Grp. v. S.W.I.F.T. SCRL, 671 F.3d 140, 146 (2d Cir. 2011)

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 665 (2009)). “[W]here a

conclusory allegation in the complaint is contradicted by a document

attached to the complaint, the document controls and the allegation is

not accepted as true.” Id. at 147.




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                              ARGUMENT

 I.   Plaintiffs Have Failed to Allege a Cognizable Title IX
      Claim.

      As the district court properly recognized, “[c]ourts across the

country have consistently held that Title IX requires schools to treat

transgender students consistent with their gender identity.” JA286. But

the question here is even narrower. The question in this case is not

whether Title IX requires schools to allow girls who are transgender to

participate on girls’ athletic teams, but whether Title IX prohibits schools

from doing so. No court has ever interpreted Title IX to prohibit the

inclusion of girls who are transgender on girls’ athletic teams, and

neither the plain text of Title IX nor its implementing regulations

supports such a claim. “[N]one of [Plaintiffs’] contentions about what

[they] think the law was meant to do, or should do, allow us to ignore the

law as it is.” Bostock v. Clayton Cnty., 140 S. Ct. 1731, 1745 (2020).

      A. Title IX and Its Implementing Regulations Do Not
         Define Girls Who Are Transgender as “Males” for
         Purposes of School Athletics.

      Plaintiffs’ Title IX claims are premised upon the faulty assumption

that Title IX and its regulations establish a definition of “sex” that


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precludes girls who are transgender—and who are recognized as girls “in

current school records and daily life activities in the school and

community” CIAC By-Laws art. IX, § B—from being recognized as girls

for purposes of sex-separated athletic activities.

     But Plaintiffs fail to identify any text from Title IX or the

implementing regulations that define sex or otherwise support their

claims. Title IX broadly prohibits discrimination “on the basis of sex.” 20

U.S.C § 1681(a). Although the statutory text does not explicitly address

athletics, regulations codified at 34 C.F.R. § 106.41 “set forth the

standards for assessing an athletics program’s compliance with” the

statute. McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d 275, 288 (2d

Cir. 2004). Under the regulations, schools are generally prohibited from

“provid[ing] athletics separately” “on the basis of sex,” but “may operate

or sponsor separate teams for members of each sex where selection for

such teams is based upon competitive skill or the activity involved is a

contact sport.” 34 C.F.R. § 106.41(a)-(b). Schools are also required to




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provide “equal athletic opportunity for members of both sexes.” Id.

§ 106.41(c).

     Plaintiffs assert that in authorizing schools to sponsor “teams for

members of each sex,” Title IX and its implementing regulation implicitly

defined sex as “biological sex” and preempted state laws and policies

recognizing girls who are transgender as girls. See JA172-75. In doing so,

Plaintiffs repeat the same arguments that have been considered and

rejected in the context of regulations authorizing separate school

restrooms on the basis of sex. See 34 C.F.R. § 106.33. Every court of

appeals to consider the question has held that the restroom regulation

does not create a definition of sex or require schools to exclude

transgender students from restrooms consistent with their identity.

“[J]ust because Title IX authorizes sex-segregated facilities does not

mean that they are required, let alone that they must be segregated

based only on [‘]biological sex[’] and cannot accommodate gender

identity.” Parents for Priv. v. Barr, 949 F.3d 1210, 1227 (9th Cir.), cert

denied, 141 S. Ct. 894 (2020); accord Doe ex rel. Doe v. Boyertown Area




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Sch. Dist., 897 F.3d 518, 533 (3d Cir. 2018); see also Grimm, 972 F.3d at

618. Plaintiffs’ arguments should be rejected for the same reasons.

     Moreover, even assuming for the sake of argument that the word

“sex” refers exclusively to physiological and biological characteristics, the

so-called “biological sex” of a transgender student is not necessarily the

sex they were assigned at birth. As discussed above, there are many

different biological components of sex, and “transgender individuals often

undergo a variety of procedures and treatments that result in anatomical

and physiological changes, such as puberty blockers and hormone

therapy.” Grimm v. Gloucester Cnty. Sch. Bd., 400 F. Supp. 3d 444, 461

(E.D. Va. 2019), aff’d, 972 F.3d 586; see also F.V. v. Barron, 286 F. Supp.

3d 1131, 1136 (D. Idaho 2018) (“There is scientific consensus that

biological sex is determined by numerous elements, which can include

chromosomal composition, internal reproductive organs, external

genitalia, hormone prevalence, and brain structure.”).

     The regulations authorizing sex-separated sports teams assume

that the student population consists of “what has traditionally been

understood as the usual ‘dichotomous occurrence’ of male and female

where the various indicators of sex all point in the same direction.” G.G.

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ex rel. Grimm v. Gloucester Cty. Sch. Bd., 822 F.3d 709, 722 (4th Cir.

2016), vacated and remanded on other grounds, 137 S. Ct. 1239 (2017).

But they “shed[] little light on how exactly to determine the ‘character of

being either male or female’ where those indicators diverge.” Id.; cf. Suesz

v. Med-1 Sols., LLC, 757 F.3d 636, 639 (7th Cir. 2014) (en banc) (“[T]erms

that seem plain and easy to apply to some situations can become

ambiguous in other situations.”).14

     Plaintiffs offer a variety of policy arguments for excluding girls who

are transgender, but those policy arguments (which Intervenor-

Defendants vigorously dispute) cannot be shoehorned into the allegedly

plain meaning of the word “sex.” Plaintiffs argue that the word “sex” in

the athletic regulations must refer to biology because “male bodies” have


14 The Supreme Court recently declined the invitation to limit the
meaning of sex under Title VII to the physiological distinctions advocated
by the Plaintiffs here. Instead the Court merely “proceed[ed] on the
assumption that ‘sex’ . . . referr[ed] only to biological distinctions between
male and female,” without deciding whether “the term bore a broader
scope, capturing more than anatomy and reaching at least some norms
concerning gender identity and sexual orientation.” Bostock, 140 S. Ct. at
1739; see, e.g., Fabian v. Hosp. of Cent. Conn., 172 F. Supp. 3d 509, 526
(D. Conn. 2016) (collecting definitions). As in Bostock, it is not necessary
in this case to decide whether the word “sex” in Title IX refers only to
biological distinctions because, as noted above, many transgender
students have biological characteristics that align with their gender
identity and not the sex assigned to them at birth.
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an inherent physiological advantage over “female bodies.” JA140. But

Plaintiffs’ own pleadings admit that all of those physiological differences

result from hormones, not from genetics or anatomy at birth. Plaintiffs

admit that “boys and girls have comparable athletic abilities before boys

hit puberty,” and the alleged physiological advantages typical of boys do

not occur until puberty, when “testosterone drives a wide range of

physiological changes.” Id. Thus, even under Plaintiffs’ own allegations,

a girl who is transgender and who—as a result of receiving puberty-

blocking medication and gender-affirming hormone therapy—never goes

through endogenous puberty will have none of the alleged physiological

advantages that Plaintiffs complain about. See B.P.J., 2021 WL 3081883,

at *5 (granting preliminary injunction to transgender girl and noting that

“B.P.J. has not undergone and will not undergo endogenous puberty, the

process that most young boys undergo that creates the physical

advantages warned about by the State.”).

     Neither the plain text of Title IX nor the plain meaning of the word

“sex” requires schools to discriminate against girls who are transgender

by treating them like cisgender boys.



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     B. Title IX and Its Regulations Do Not Mandate Sex-
        Separated Teams as the Exclusive Means of Promoting
        Equal Athletic Opportunity.

     Even assuming for purposes of a motion to dismiss that inclusion of

transgender girls could be taken to mean that their track teams were no

longer “sex separated,” Plaintiffs’ claims would still be based on a second

faulty assumption: that the lack of sex separation automatically violates

Title IX and its athletic regulations. Far from mandating separate teams,

section (a) of the regulations establishes a “[g]eneral” rule prohibiting

schools from “provid[ing] . . . athletics separately” on the basis of sex. 34

C.F.R. § 106.41(a) (emphasis added). Section (b) of the regulations then

carves out an exception to that general prohibition, stating that “a

recipient may operate or sponsor separate teams for members of each sex

where selection for such teams is based upon competitive skill or the

activity involved is a contact sport.” Id. § 106.41(b) (emphasis added).

     The regulation thus allows schools to provide sex-separated teams,

but does not require schools to do so. It is “purposely permissive and

flexible on this point, rather than mandatory.” Yellow Springs Exempted

Vill. Sch. Dist. Bd. of Educ. v. Ohio High Sch. Athletic Ass’n, 647 F.2d

651, 656 (6th Cir. 1981) (striking down high school athletic association

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rule mandating sex-separation for all teams as inconsistent with Title

IX). The only thing mandated by subsection (b) is that “where a recipient

operates or sponsors a team in a particular sport for members of one sex

but operates or sponsors no such team for members of the other sex, and

athletic opportunities for members of that sex have previously been

limited,” members of the “excluded sex” must be allowed to try out for the

team unless it is a contact sport. 34 C.F.R. § 106.41(b).

     Subsection (c) of the regulation further requires schools to provide

“equal athletic opportunity” but does not impose a general requirement

for schools to use sex-separated teams as the exclusive means of doing so.

Id. § 106.41(c). Indeed, at the time that Title IX was adopted, and

continuing to this day, courts have recognized that allowing girls to play

on boys’ teams (and vice versa) can sometimes be the only effective way




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to   provide   equal    athletic   opportunity     under    the   Fourteenth

Amendment.15

      Plaintiffs’ assumption that Title IX universally requires sex-

separated athletics is particularly unwarranted in Connecticut, which—

like many other states—allows girls and boys to compete with each other

on the same contact-sports team. According to statistics from the

National Federation of State High School Associations, during the 2018-

19 academic year, forty-two girls in Connecticut played on boys’ football

teams, twenty-one girls in Connecticut played on boys’ ice hockey teams,

and 131 girls in Connecticut played on boys’ wrestling teams. See Nat’l

Fed. of State High Sch. Ass’ns: Participation Data, available at

https://members.nfhs.org/participation_statistics (last accessed Aug. 17,

2020).



15See, e.g., D.M. by Bao Xiong v. Minn. State High Sch. League, 917 F.3d
994, 1003 (8th Cir. 2019) (injunction allowing boys to compete on girls’
competitive dance team); Bednar v. Neb. Sch. Activities Ass’n, 531 F.2d
922, 923 (8th Cir. 1976) (injunction allowing girl to compete on boys’
cross-country team); Beattie v. Line Mountain Sch. Dist., 992 F. Supp. 2d
384 (M.D. Pa. 2014) (injunction allowing girl to compete on boys’
wrestling team); Adams v. Baker, 919 F. Supp. 1496 (D. Kan. 1996)
(same); Lantz v. Ambach, 620 F. Supp. 663 (S.D.N.Y. 1985) (injunction
allowing girl to compete on boys’ football team).

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     Thus, even accepting Plaintiffs’ flawed argument that all girls who

are transgender are actually boys, that alone would not give rise to a Title

IX violation.

     C. Plaintiffs Have Not Alleged Cognizable Claims of
        Unequal Athletic Opportunity Under the Department of
        Education 1979 Policy Interpretation.

     Plaintiffs also fail to establish a Title IX violation under

longstanding guidance from the Department of Education defining how

to measure “equal athletic opportunity.” The 1979 Policy Interpretation,

which was adopted through notice and comment, divides claims for denial

of “equal athletic opportunity” into two categories: claims for “equal

treatment” and claims for “effective accommodation.” See Biediger v.

Quinnipiac Univ., 691 F.3d 85, 92 (2d Cir. 2012).16

     Conflating and distorting “effective accommodation” and “equal

treatment” claims, Plaintiffs assert that Title IX requires not merely an

equal opportunity for girls and boys to compete, but also requires that an



16 This court has deferred to the 1979 Policy Interpretation without
resolving whether the deference was based on Chevron U.S.A. Inc. v.
NRDC, 467 U.S. 837 (1984), or Skidmore v. Swift & Co., 323 U.S. 134
(1944). See McCormick ex rel. McCormick v. Sch. Dist. of Mamaroneck,
370 F.3d 275, 290 (2d Cir. 2004). But see Biediger, 691 F.3d at 96 (stating
that McCormick applied Chevron deference).
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equal number of trophies be awarded to (in Plaintiffs’ words) people with

“male bodies” and people with “female bodies.” JA175. Plaintiffs cannot

identify any court, or any prior enforcement action by OCR, that has

interpreted Title IX in such a manner.

       i. Plaintiffs Have Not Alleged Cognizable Claims for
          “Effective Accommodation” under the 1979 Policy
          Interpretation’s “Selection of Sports” Provision.

     In    Count     One,    Plaintiffs     assert   a   claim   for   “effective

accommodation,” but fail to identify the only Title IX regulatory

document that addresses when a school is required to provide separate

teams for boys and girls. Under a section addressing effective

accommodation in selection of sports, the 1979 Policy Interpretation

provides that “where an institution sponsors a team in a particular sport

for members of one sex, it may be required either to permit the excluded

sex to try out for the team or to sponsor a separate team for the

previously excluded sex.” 1979 Policy Interpretation § VII.C.4 (emphases

added). Sex-separated teams in non-contact sports such as track and field

are required only if, among other things, “[m]embers of the excluded sex

do not possess sufficient skill to be selected for a single integrated team

or to compete actively on such a team if selected.” Id. § VII.C.4.b(3). Thus,

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even assuming for purposes of this appeal that inclusion of transgender

girls could be taken to mean that their track teams were no longer “sex

separated,” Plaintiffs could not state a claim for denial of effective

accommodation unless they could show that they do not possess sufficient

skill “to compete actively” alongside girls who are transgender. Id.

§ VII.C.4.b(3).

     Any argument that Plaintiffs are unable to “compete actively” with

girls who are transgender is both implausible on its face and belied by

facts incorporated in the Complaint itself. As discussed above, Plaintiffs’

complete sets of track and field records unequivocally demonstrate that

Mitchell and Smith actively competed against Andraya and Terry and

repeatedly won those competitions. See supra at pp. 13-15 (detailing

these plaintiffs’ many wins). Plaintiffs’ assertion that they “simply can’t

win” is “simply not true.” Dixon v. von Blanckensee, 994 F.3d 95, 107 (2d

Cir. 2021).

     Plaintiffs also assert that they have been denied the “chance to be

champions,” but, as discussed above, Plaintiffs’ records demonstrate that

Soule, Mitchell, and Smith have been “champions” on multiple



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occasions.17 Smith had already won two championships (as of the date of

the Second Amended Complaint); Soule has won five championships; and

Mitchell has won twelve.

     Mitchell has also received virtually all of the accolades and public

recognition that she claims to have lost to Terry and Andraya. For

example, Plaintiffs misleadingly allege that during the 2019 indoor

season, Andraya and Terry “egregiously” denied Mitchell the ability to

“ma[k]e her school’s history as the first female athlete . . . ever to be

named State Open Champion.” Pls.’ Br. 26 (quoting JA156). In reality,

although Mitchell was not named state open champion in the 55m dash,

she still “made her school’s history” by winning the state open

championship for the long jump on the same day. See SA071; Gerry

deSimas, Jr., Canton’s Chelsea Mitchell wins State Open title in long




17Soule and Nicoletti do not allege that they would have won a trophy for
any particular event had Andraya or Terry not participated. Both
runners placed behind at least five presumably non-transgender runners,
including other plaintiffs to this lawsuit, in events they claim denied
them a chance to be a champion.
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jump, takes 3rd in 55 meters, Collinsville Press (Feb. 18, 2019), available

at https://tinyurl.com/yu2khbz2.

     Mitchell further complains that Andraya and Terry took

recognition away from her when the Hartford Courant named them “All-

Courant girls indoor track and field athletes of the year” for the 2018-19

season. JA156. But only months later, Mitchell herself was named “All-

Courant girls outdoor track and field athlete of the year” for the 2019

season. See Shawn McFarland, 2019 All-Courant girls outdoor track and

field athlete of the year: Chelsea Mitchell, Canton, Hartford Courant (July

10, 2019), available at https://tinyurl.com/tde86a37.

     Though Plaintiffs complain that they want more trophies and

accolades to go along with those they have already received, there is

enough room in Connecticut—and in track-and-field competition more

generally—for girls who are transgender to have “the chance to be

champions,” too. Providing effective accommodation for the interests and

abilities of these four Plaintiffs does not require Defendants to deny




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effective accommodation to other girls, including girls who are

transgender.

      ii. Plaintiffs Have Not Alleged Cognizable Claims for
          “Effective Accommodation” under the 1979 Policy
          Interpretation’s “Levels of Competition” Provision.

      Plaintiffs also fail to allege a denial of “effective accommodation”

claim under the “levels of competition” provision. In accordance with the

1979 Policy Interpretation, courts address effective accommodation

claims through a three-part test that analyzes:

      (1) Whether [] participation opportunities for male and female
      students are provided in numbers substantially proportionate
      to their respective enrollments; or (2) Where the members of
      one sex have been and are underrepresented among []
      athletes, whether the institution can show a history and
      continuing practice of program expansion which is
      demonstrably responsive to the developing interest and
      abilities of the members of that sex; or (3) Where the members
      of one sex are underrepresented and the institution cannot
      show a continuing practice of program expansion . . ., whether
      it can be demonstrated that the interests and abilities of the
      members of that sex have been fully and effectively
      accommodated by the present program.

Biediger, 691 F.3d at 92–93 (citing 1979 Policy Interpretation). “The test

is   applied   to   assess    whether     an    institution   is   providing

nondiscriminatory participation opportunities to individuals of both



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sexes, and an institution is in compliance if it meets any one of the three

prongs of the test.” McCormick, 370 F.3d at 300 (emphasis in original).

     An effective accommodation claim based on “levels of competition”

is assessed at the aggregate level. It focuses on a school’s athletic

program as a whole, rather than on any one particular individual’s ability

to compete on a given team in a given event. See Biediger, 691 F.3d at

92–93 (effective accommodation claim regarding Quinnipiac University’s

elimination of women’s volleyball team as varsity sport and systemic

manipulation of rosters to make the number of female participants

appear larger than it actually was); Thomas v. Regents of Univ. of Cal.,

No. 19-cv-06463-SI, 2020 WL 3892860, at *9 (N.D. Cal. July 10, 2020)

(effective accommodation claim regarding “systemwide imbalance in

athletic opportunities for women”). The focus throughout the effective

accommodation analysis is on how an athletics program, taken as a

whole, provides participation opportunities for each sex as a whole.

     Plaintiffs do not allege that they have been denied effective

accommodation under the three-part test. Instead, Plaintiffs assert that

each time a cisgender girl fails to advance to the next level of post-season

competition, she has been denied a “participation opportunity.” But the

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term “participation opportunity” under the 1979 Policy Interpretation

has a specific definition. The 1979 Policy Interpretation defines

“participants” as those athletes

     a. Who are receiving the institutionally sponsored support
     normally provided to athletes competing at the institution
     involved, e.g., coaching, equipment, medical and training room
     services, on a regular basis during a sport’s season; and

     b. Who are participating in organized practice sessions and
     other team meetings and activities on a regular basis during a
     sport’s season; and

     c. Who are listed on the eligibility or squad lists maintained for
     each sport; or

     d. Who, because of injury, cannot meet a, b, or c above but
     continue to receive financial aid on the basis of athletic ability.

Biediger, 691 F.3d at 93 (quoting 44 Fed. Reg. at 71,415) (alterations

incorporated). Participation opportunities are not calculated based on the

number of times an athlete qualifies to participate in a particular post-

season race.

     Taking words out of context, Plaintiffs also argue that Title IX

requires that athletic opportunities not be “illusory.” Pls.’ Br. 30 (quoting

Biediger, 691 F.3d at 101). “Illusory” participation opportunity under the

three-part test are “unfilled slots” that exist on paper but “are not filled


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by actual athletes.” Off. Civ. Rts., U.S. Dep’t of Educ., Clarification of

Intercollegiate Athletics Policy Guidance: The Three–Part Test (Jan. 16,

1996); accord Ollier v. Sweetwater Union High Sch. Dist., 768 F.3d 843,

856 (9th Cir. 2014). Thus, the “illusory” opportunities in Biediger referred

to Quinnipiac’s attempt “to pump up its women’s track team rosters by

requiring every injured field hockey, soccer, and volleyball player to join

these teams even though they would never actually compete in the indoor

and outdoor track seasons and, for that matter, would never want to

enter a race.” 691 F.3d at 101. Neither Biediger nor any other case stands

for the proposition that a participation opportunity is “illusory” if the

student does win not every competition.

     Plaintiffs also focus on a hypothetical situation in which “the great

bulk of the females would quickly be eliminated from participation and

denied any meaningful opportunity for athletic involvement.” Pls.’ Br. 29

(internal quotation marks and citations omitted). But Plaintiffs’ factual

allegations—as opposed to their rhetoric—show nothing of the kind. The

allegations show that for the past seven years, only two girls who are

transgender, Andraya and Terry, have run competitively in girls’ track

and field, each in only three events out of dozens per track-and-field meet.

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Plaintiffs’ records also show that non-transgender girls have repeatedly

won championships by outperforming Andraya and Terry in direct

competition. Irrespective of Andraya and Terry’s talents, their

participation in three events per meet has not caused cisgender girls to

“vanish from the victory podium.” JA148; see also Hecox v. Little, 479 F.

Supp. 3d 930, 977 (D. Idaho Aug. 17, 2020) (“It is inapposite to compare

the potential displacement allowing approximately half of the population

(cisgender men) to compete with cisgender women, with any potential

displacement one half of one percent of the population (transgender

women) could cause cisgender women.”).

      Here, it is undisputed that Plaintiffs’ schools have separate girls’

indoor and outdoor track teams; that those teams participated in

numerous meets; and that based on those meets, Plaintiffs were able to

qualify for their Class championships, for the State Open, and for the

New England Championship—often with great success. See supra

(discussing the other athletic opportunities and achievements reflected

in Plaintiffs’ track records). Accordingly, Plaintiffs have failed to allege a




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valid claim that they lack participation opportunities when analyzed

under the relevant three-part test for an “effective accommodation.”

     D. Plaintiffs Have Not Plausibly Alleged an Equal
        Treatment Claim.

     Plaintiffs also fail to allege a cognizable claim for denial of “equal

treatment” under the 1979 Policy Interpretation. When determining

whether equal treatment has been denied, courts review the second

through tenth factors set forth in the Title IX regulations:

     (2) The provision of equipment and supplies;
     (3) Scheduling of games and practice time;
     (4) Travel and per diem allowance;
     (5) Opportunity to receive coaching and academic tutoring;
     (6) Assignment and compensation of coaches and tutors;
     (7) Provision of locker rooms, practice and competitive facilities;
     (8) Provision of medical and training facilities and services;
     (9) Provision of housing and dining facilities and services;
     (10) Publicity.

34 C.F.R. § 106.41(c)(2)-(10); McCormick, 370 F.3d at 291.

     Under the 1979 Policy Interpretation, a school may be liable for

denial of equal treatment “[i]f comparisons of program components reveal

that treatment, benefits, or opportunities are not equivalent in kind,

quality or availability,” for “members of both sexes.” See 1979 Policy

Interpretation § VII(B)(2). Thus, for example, an athletic program may


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be found to deny equal treatment when it schedules women’s sports in a

less advantageous manner than men’s sports. See McCormick, 370 F.3d

at 299 (sustaining unequal treatment claim by members of women’s

soccer    team     given    high   school’s   “off-season    scheduling    that

disadvantaged members of only one sex”); Communities for Equity v.

Mich. High Sch. Athletic Ass’n, 178 F. Supp. 2d 805, 855-57 (W.D. Mich.

2001) (high school athletic association violated Title IX by scheduling

athletic seasons and competitions for girls’ sports during nontraditional

and less advantageous times compared to boys’ sports).

       Plaintiffs’ factual allegations fail to state a valid equal treatment

claim under this legal framework. Plaintiffs do not even attempt to argue

that the CIAC treats the boys’ track and field team differently from the

girls’ track and field team. The only allegations even remotely related to

the regulatory factors are Plaintiffs’ vague claims that they were denied

publicity and recognition of their efforts due to victories by other girls.

But, as with any “effective accommodation” claim, the assessment of

unequal publicity focuses on the publicity institutions provide to their

teams as a group—not the coverage ultimately enjoyed individually by

each     athlete   from    third-party    news   outlets.   See   1979    Policy

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Interpretation § VI(B)(3)(i) (explaining that compliance is assessed based

on “access to publicity resources for men’s and women’s programs” as well

as “quantity and quality of publications and other promotional devices

featuring men’s and women’s programs”). For example, if a school were

only publicizing its male athletes, and not its female athletes, on the

school’s website, that would support a claim for unequal publicity. See,

e.g., Ollier v. Sweetwater Union High Sch. Dist., 858 F. Supp. 2d 1093,

1112 (S.D. Cal. 2012) (sustaining unequal treatment claim on the basis

of, among other things, a showing that “girls’ athletic activities were

provided with less coverage and promotion in yearbooks, fewer

announcements in the school’s Daily Bulletin, less signage on the school’s

electronic marquee, and inferior signage”), aff’d, 768 F.3d 843. Plaintiffs

have alleged nothing of the kind.

II.   The Requested Injunctions Would Violate the Rights of the
      Individual Intervenors and Other Girls Who Are
      Transgender.

      Even if Plaintiffs’ claims were otherwise cognizable under Title IX,

Plaintiffs’ sweeping demands for injunctive relief would violate the

statutory and constitutional rights of Andraya, Terry, and other girls in

Connecticut who are transgender.

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     A. Plaintiffs Cannot Retroactively Strip Other Students of
        Championships They Won in Accordance With Existing
        Rules.

     In arguing that they have live claims for injunctive relief, Plaintiffs

emphasize their request for an injunction to expunge all records of

Andraya and Terry’s accomplishments. Plaintiffs compare the instant

case with contexts in which athletes have been found to be participating

while under the influence of performance-enhancing drugs in violation of

the competition rules. Pls.’ Br. 18-19. But unlike in those contexts,

Andraya and Terry followed all of the rules and competed consistent with

the state law and policy. Plaintiffs do not allege otherwise.

     As Plaintiffs themselves acknowledge, “[s]ociety values and awards

those who win according to the rules of the game.” Pls.’ Br. 24 (emphasis

added). If Plaintiffs could show a non-speculative possibility of future

injury, they would be free to argue that the CIAC rules should be changed

prospectively. But Title IX does not allow Plaintiffs to retroactively

change the rules for races that have already been won, or to deprive other

students of victories they won based on the rules in place at the time.




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     B. Plaintiffs’ Requested Injunctions Would Violate Title IX.

     Granting Plaintiffs’ requested injunctions would also violate the

Title IX rights of the Individual Intervenor-Defendants and other girls

who are transgender. See B.P.J., 2021 WL 3081883, at *6-*7 (granting

preliminary injunction against West Virginia law banning girls who are

transgender from participating in sports with non-transgender girls);

Boyertown Area Sch. Dist., 897 F.3d at 536 (refusing to grant preliminary

injunction that “would essentially replicate” a school district policy that

violated Title IX).

     Title IX “prohibits a funding recipient from subjecting any person

to ‘discrimination’ ‘on the basis of sex.’” Jackson v. Birmingham Bd. of

Educ., 544 U.S. 167, 173 (2005) (quoting 20 U.S.C. § 1681(a)). In Bostock,

the Supreme Court held that discrimination against a person because

they are transgender is discrimination “because of . . . sex” under Title

VII of the Civil Rights Act of 1964 “because it is impossible to

discriminate against a person for being . . . transgender without

discriminating against that individual based on sex.” 140 S. Ct. at 1741.

     The same reasoning applies to Title IX because both statutes

require no more than “but for” causation: Title VII prohibits

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discrimination “because of” sex, 42 U.S.C. § 2000e–2(a)(1); Title IX

prohibits discrimination “on the basis of” sex, 20 U.S.C. § 1681(a). And

this Court has already recognized that there is no “meaningful difference

between ‘on the basis of,’ ‘because of,’ or ‘based on,’ which would require

courts to use a causation standard other than ‘but-for.’” Natofsky v. City

of New York, 921 F.3d 337, 349 (2d Cir. 2019), cert. denied, 140 S. Ct.

2668 (2020). Thus, as with Title VII, to discriminate against a student

because she is transgender is to discriminate based on sex. See Grimm,

972 F.3d at 616; U.S. D.O.J., Memorandum re: Application of Bostock v.

Clayton County to Title IX of the Education Amendments of 1972 (Mar.

26,    2021),     https://www.justice.gov/crt/page/file/1383026/download

(collecting cases before and after Bostock).

      Granting Plaintiffs’ requested injunction would unlawfully

discriminate against girls who are transgender in violation of Title IX’s

plain text. “In the Title IX context, discrimination mean[s] treating that

individual worse than others who are similarly situated.” Grimm, 972

F.3d at 618 (quoting Bostock, 140 S. Ct. at 1740) (internal quotation

marks omitted). Excluding a girl who is transgender from girls’ sports

teams would “treat[] [her] worse than girls with whom she is similarly

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situated because she alone [could not] join the team corresponding to her

gender identity.” B.P.J., 2021 WL 3081883, at *7. The exclusion would

“very publicly brand[]” girls who are transgender “with a scarlet ‘T’”—

stigmatizing transgender students and marking them as different from

their peers. Grimm, 972 F.3d at 617-18 (internal quotation marks and

alterations omitted).

     Such discrimination is not authorized by the Title IX regulation

allowing schools to provide “separate teams for members of each sex.” 34

C.F.R. § 106.41(b). The regulations do not purport to authorize

“discrimination” in violation of the statutory text. Nor could they. “All

[the regulation] suggests is that the act of creating sex-separated [teams]

in and of itself is not discriminatory—not that, in applying [athletic]

policies to students like [Andraya and Terry], the [government] may rely

on its own discriminatory notions of what ‘sex’ means.” Grimm, 972 F.3d

at 618.

     Plaintiffs assert that excluding girls who are transgender is not

discriminatory because “biological males and biological females are not

in fact similarly situated” for purposes of sex-separated athletic teams.

Pls.’ Br. 10 (quoting case involving cisgender boys and girls). But

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Andraya, Terry, and other transgender girls who qualify to participate

under the CIAC policy are not cisgender boys. They are girls who live and

express themselves as girls in all aspects of daily life, and who are

recognized as girls in school and state records. If they cannot participate

in school sports as girls, they cannot participate at all. See Grimm, 972

F.3d at 624 (Wynn, J., concurring) (requiring students to choose between

using the restroom associated with their physiology or a private, single-

stall restroom “is no choice at all because” the policy “completely misses

the reality of what it means to be a transgender [girl]”); Hecox, 479 F.

Supp. 3d at 977 (forcing girls who are transgender to “[p]articipat[e] in

sports on teams that contradict one’s gender identity” would “entirely

eliminate[] their opportunity to participate in school sports.”).18

     Categorically banning girls who are transgender from girls’ sports

teams based solely on their genetics and anatomy at birth would

therefore “exclude[]” them “from participation in,” “den[y]” them “the


18 Moreover, even assuming arguendo that the “similarly situated”
analysis should focus solely on physiology, the relevant physiological
differences between transgender girls and non-transgender girls would
be based on levels of circulating testosterone, not genetics or anatomy at
birth. Plaintiffs nevertheless demand an injunction that excludes all girls
who are transgender, regardless of whether they underwent endogenous
puberty and experienced physiological changes caused by testosterone.
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benefits of,” and “subject[]” them “to discrimination under” an

educational program receiving federal financial assistance, in violation

of Title IX’s plain text. 20 U.S.C. § 1681(a).

     C. Plaintiffs’ Requested Injunctions Would Violate the
        Equal Protection Clause.

     Granting Plaintiffs’ requested injunctions would also violate the

Equal Protection Clause. See B.P.J., 2021 WL 3081883, at *4-6 (granting

preliminary injunction against West Virginia law); Hecox, 479 F. Supp.

3d at 972 (granting preliminary injunction against Idaho law); Boyertown

Area Sch. Dist., 897 F.3d at 536 (refusing to grant preliminary injunction

that “would essentially replicate” a school district policy that violated the

Fourteenth Amendment).

     Discrimination against transgender students is subject to

heightened scrutiny under the Equal Protection Clause for two

independent reasons. First, discrimination based on transgender status

is at least a quasi-suspect classification based on the same factors this

Court considered when it recognized sexual orientation as a quasi-

suspect classification in Windsor v. United States, 699 F.3d 169 (2d Cir.

2012), aff’d, 570 U.S. 744 (2013). These include:


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     A) whether the class has been historically subjected to
     discrimination; B) whether the class has a defining
     characteristic that frequently bears a relation to ability to
     perform or contribute to society; C) whether the class exhibits
     obvious, immutable, or distinguishing characteristics that
     define them as a discrete group; and D) whether the class is a
     minority or politically powerless.

Id. at 181 (internal quotation marks, brackets, and citations omitted).

Applying that same test, the Fourth Circuit, the Ninth Circuit, and

district courts across the country have held that discrimination based on

transgender status requires heightened review under the Equal

Protection Clause. See, e.g., Grimm, 972 F.3d at 611-13; Karnoski v.

Trump, 926 F.3d 1180, 1200-01 (9th Cir. 2019); Adkins v. City of New

York, 143 F. Supp. 3d 134, 139 (S.D.N.Y. 2015).

     Second, excluding transgender students from sex-separated teams

based on presumptions about their bodily sex characteristics would also

independently trigger heightened scrutiny because it is inherently a form

of sex discrimination. A policy purporting to define a “biological girl” for

purposes of participating in sex-separated teams “cannot be stated

without referencing sex” and would therefore be “inherently based upon

a sex-classification.” Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of

Educ., 858 F.3d 1034, 1051 (7th Cir. 2017). “[A]ll gender-based

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classifications today warrant heightened scrutiny.” United States v.

Virginia, 518 U.S. 515, 555 (1996) (internal quotation marks omitted).

     The requested injunctions could not withstand heightened scrutiny.

To survive heightened scrutiny, Plaintiffs’ injunctions must serve an

important governmental interest and “the discriminatory means

employed” must be “substantially related to the achievement of those

objectives.” Sessions v. Morales-Santana, 137 S. Ct. 1678, 1690 (2017).

Here, even accepting Plaintiffs’ allegations as true, Plaintiffs’ own

pleading demonstrates that their requested injunctions are not

substantially related to the important governmental interest of providing

equal athletic opportunity. As noted above, Plaintiffs’ factual allegations

do not plausibly support that they have actually been deprived of equal

athletic opportunities at all.

     Moreover, there is a critical difference between providing sex-

separated sports teams for boys and girls and enacting discriminatory

rules that bar girls who are transgender from participating on the same

teams as other girls. Courts applying heightened scrutiny have held that

providing sex-separated teams is substantially related to advancing an

important governmental interest in “redressing past discrimination

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against women in athletics and promoting equality of athletic

opportunity between the sexes.” Clark, ex rel. Clark v. Ariz.

Interscholastic Ass’n, 695 F.2d 1126, 1131 (9th Cir. 1982). But as

explained by the district court in Hecox, those important interests are not

similarly   served   by   banning    girls   who   are   transgender    from

participating. “First, like women generally,” and unlike cisgender men,

“women who are transgender have historically been discriminated

against, not favored.” Hecox, 479 F. Supp. 3d at 977. Second, excluding

girls and women who are transgender from participating in women’s

sports, and forcing them to participate in a manner inconsistent with

their gender identity, would effectively prevent girls who are transgender

from participating in school sports entirely. Id. Third, because

transgender people represent just a small percentage of the population,

“it appears untenable that allowing transgender women to compete on

women’s teams would substantially displace [non-transgender] female

athletes.” Id. at 977-78. And fourth, girls and women who receive puberty

blockers or suppress testosterone through gender-affirming hormone

therapy do not have the same presumed athletic advantages as cisgender

males. Id. at 978.

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     The Complaint suffers from the same flaws as the Idaho statute at

issue in Hecox. Granting Plaintiffs’ request for a sweepingly overbroad

and discriminatory injunction would not be substantially related to any

interest in promoting equal athletic opportunity and could not survive

heightened scrutiny.

III. The Request for Reassignment on Remand Should Be
     Denied.

      “Reassignment of a case is an extreme remedy, rarely imposed,”

and this Court “will only reassign a case on remand in an extraordinary

case.” Ketcham v. City of Mount Vernon, 992 F.3d 144, 152 (2d Cir. 2021)

(internal quotation marks omitted). “Reassignment of a case on remand

should occur only when the facts might reasonably cause an objective

observer to question the judge’s impartiality.” Spiegel v. Schulmann, 604

F.3d 72, 83 (2d Cir. 2010) (internal quotation marks and citations

omitted). Those circumstances are entirely absent here.

     A. The Court’s Order Was Consistent With Its Duty to
        Maintain Civility in Legal Proceedings.

     Judge Chatigny’s request for civility did not create any objective

appearance of bias. Federal judges must not only “be patient, dignified,

respectful, and courteous to litigants,” but must also “require similar

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conduct by those subject to the judge’s control, including lawyers to the

extent consistent with their role in the adversary process.” Code of

Conduct for U.S. Judges, Canon 3(A)(3). In carrying out these

responsibilities, the Court acted well within its discretion in admonishing

counsel to stop gratuitously referring to two teenage girls who are

transgender as “males, period.” JA022.

     Judge Chatigny is not the only judge who has admonished

Plaintiffs’ counsel for gratuitously misgendering girls who are

transgender. On May 26, 2020—over a month after Judge Chatigny’s

order—Plaintiffs’ counsel filed a Motion to Intervene in Hecox on behalf

of a cisgender college athlete to defend Idaho’s ban on women who are

transgender from participating in women’s sports. Motion to Intervene,

Hecox v. Little, No. 1:20-cv-00184-DCN (D. Idaho May 26, 2020), ECF No.

30-1. Chief Judge Nye noted that the motion to intervene was “replete

with references to [the transgender female plaintiff] using masculine

pronouns” and “refer[red] to other transgender women by their former

male names.” Hecox, 479 F. Supp. 3d at 956-57. Judge Nye expressed

“concern[]” about “this conduct, as other courts have denounced such

misgendering as degrading, mean, and potentially mentally devastating

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to transgender individuals.” Id. at 957. The judge noted that other

terminology could “make[] counsel’s point without doing so in an

inflammatory and potentially harmful manner.” Id. at 957 n.11. The

court ultimately granted the motion to intervene because counsel

refrained from misgendering the plaintiff and other transgender women

during oral argument, and admonished counsel to “continue this practice

in future filings and arguments before the Court.” Id. at 957.

     As Judge Chatigny and Judge Nye properly recognized, respecting

a person’s gender identity—or, at a minimum, refraining from

gratuitously misgendering them—is common courtesy. Courts routinely

respect the gender identity of litigants when referring to them with

pronouns and honorifics, and require counsel to do the same. See, e.g.,

Canada v. Hall, No. 18-CV-2121, 2019 WL 1294660, at *1 n.1 (N.D. Ill.

Mar. 21, 2019) (stating “the Court would be derelict if it failed to note the

defendants’ careless disrespect for the plaintiff’s transgender identity, as

reflected through implications that the plaintiff might not actually be

transgender and the consistent use of male pronouns to identify the

plaintiff” and further “caution[ing] counsel against maintaining a similar

tone in future filings”); Lynch v. Lewis, No. 7:14-CV-24 HL, 2014 WL

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1813725 at *2 n.2 (M.D. Ga. May 7, 2014) (requiring the use of correct

pronouns and explaining that “[s]uch use is not to be taken as a factual

or legal finding. The Court will grant Plaintiff’s request as a matter of

courtesy, and because it is the Court’s practice to refer to litigants in the

manner they prefer to be addressed when possible.”); Smith v.

Rasmussen, 57 F. Supp. 2d 736, 740 n.2 (N.D. Iowa 1999), aff’d in part,

rev’d in part on other grounds, 249 F.3d 755 (8th Cir. 2001) (“As a matter

of courtesy, the masculine pronoun will be used in reference to the

plaintiff throughout this opinion, as it was throughout the trial by all

parties. The court appreciates such courtesy from all counsel and

witnesses, whatever the legal merits on any issue may be.”).

     Nor is there anything novel about Judge Chatigny’s recognition

that deliberately and repeatedly referring to girls and women who are

transgender as “men” or “males” can be a form of “bullying.” See T.B., Jr.

ex rel. T.B., Sr. v. Prince George’s Cty. Bd. of Educ., 897 F.3d 566, 577

(4th Cir. 2018) (describing student’s harassment of transgender female

teacher by referring to her as “Mr.,” “sir,” “he,” and “him,” as “pure

meanness”); Hampton v. Baldwin, No. 3:18-cv-550, 2018 WL 5830730, at

*2 (S.D. Ill. Nov. 7, 2018) (referencing expert testimony that

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“misgendering transgender people can be degrading, humiliating,

invalidating, and mentally devastating”); State v. Cantrill, No. L-18-

1047, 2020 WL 1528013, at *8 (Ohio Ct. App. Mar. 31, 2020) (agreeing

that “using an individual’s preferred pronouns demonstrates respect for

that person’s dignity, regardless of what the law may require or prohibit”

and reaffirming that “[t]here is no place in our judicial system for malice,

disparagement, or intentional disrespect toward any party, witness, or

victim”).

     Requiring counsel to address parties with courtesy and civility is

not bias. It is part of a judge’s responsibility to ensure that all litigants

are afforded equal dignity when they seek justice from the courts.

     B. The Court’s Request for Civility Did Not Prejudge the
        Merits of Plaintiffs’ Legal Claims.
     Judge Chatigny was clear that in instructing Plaintiffs to stop

referring to Andraya and Terry as “‘males,’ period,” he was not precluding

Plaintiffs from arguing that the term “sex” in Title IX must be defined by

physiology. The Court did not order Plaintiffs to refer to Terry and

Andraya as “females” or “transgender females.” The Court further

clarified that Plaintiffs may refer to them as “transgender athletes”—and

may even refer to girls who are transgender as “biologically male,”
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individuals with “male bodies” and individuals who went through “male

puberty.” JA022, JA109.19

     Plaintiffs take particular issue with the district court’s statement

that referring to girls who are transgender as “transgender females” is

“consistent with science.” JA107. But Plaintiffs completely ignore the

Court’s explanation in its order denying the motion to recuse. As the

Court explained, “the ‘science’ I referred to is not the science relating to

the issue of unfair competitive advantage but the science that tells us

calling transgender girls ‘males’ can cause significant mental and

emotional distress.” JA022. In reaching that conclusion Judge Chatigny

could properly rely upon the evidence presented in the Individual

Intervenors’ declarations, and other sources in their Motion to Intervene.

Plaintiffs can continue to argue that sex-separated teams under Title IX

must be defined based on certain physiological and biological

characteristics while still extending common courtesy to Andraya and

Terry. See Hecox, 479 F. Supp. 3d. at 957 n.11.




19  Intervenor-Defendants do not concede that using the phrase
“biologically male” or “physiologically male” would be medically accurate
terminology to describe girls who are transgender. See supra p. 35.
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     C. The Court Did Not “Trivialize[] Female Athletes’
        Achievements.”
     Judge Chatigny also acted appropriately in evaluating the

plausibility of Plaintiffs’ assertions that retroactively changing Chelsea

Mitchell’s records would have a non-speculative impact on future

employment prospects. “Determining whether a complaint states a

plausible claim for relief will . . . be a context-specific task that requires

the reviewing court to draw on its judicial experience and common sense.”

Iqbal, 556 U.S. at 679. In fulfilling those duties, Judge Chatigny noted

that even if Mitchell were allowed to retroactively add four additional

championship titles to her resume, an employer would inevitably know

that Mitchell “did not actually finish first in [those] races.” JA277-78.

     Plaintiffs’ assertion that Judge Chatigny was denigrating the

importance of female athletic achievement is utterly baseless. No

reasonable person could read Judge Chatigny’s opinion and conclude that

he was commenting about the comparative value of so-called “female

bodied” and “male bodied” athletes. Pls.’ Br. 53. Rather, Judge Chatigny

was observing that—as Plaintiffs themselves admit—“[s]ociety values

and awards those who win according to the rules of the game.” Pls.’ Br.

24 (emphasis added). At the time the races occurred, the rules of the game
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allowed Andraya and Terry to participate. According to the rules of the

game, Mitchell did not finish first. Retroactively declaring Mitchell to be

the winner does not change that fact.

     D. The Court Did Not “Sit[] On” Plaintiffs’ Motion for a
        Preliminary Injunction.
     Finally, Plaintiffs misleadingly accuse Judge Chatigny of creating

the appearance of bias by “sitting on the motion for a preliminary

injunction.” Pls.’ Br. 14; see also id. at 51 (accusing Judge Chatigny of

displaying a “high degree of . . . antagonism” by delaying ruling on the

motion for a preliminary injunction). Incredibly, Plaintiffs level this

accusation without even mentioning COVID-19 or the cancelation of the

spring 2020 track season. As discussed above, and as reflected on the

district court docket, the district court deferred the motion for

preliminary injunction until it became clear whether the spring 2020

season would take place in light of the global pandemic and, thus,

whether Plaintiffs would actually have a need for preliminary injunctive

relief. See JA014 (ECF No. 68); JA015 (ECF No. 79); JA016 (ECF No. 82).

A reasonable observer aware of all the facts would not conclude that

Judge Chatigny created an appearance of bias in doing so.


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                             CONCLUSION

     The decision of the district court should be affirmed, and the

request for reassignment on remand should be denied.

Respectfully submitted,

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          Federal Rules of Appellate Procedure Form 6
           Certificate of Compliance with Rule 32(a)

1.   This brief complies with the type-volume limits of Fed. R. Ap. P.
     32(a)(7)(B), as well as Local Rule 32.1(a)(4), because it contains
     13,981 words, excluding the parts exempted by Fed. R. App. P.
     32(f).

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                                   /s/ Joshua Block___________
                                   Joshua Block

October 7, 2021




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